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                                                                            FILED
                  IN THE UNITED STATES DISTRICT COURT                        NOV 02 2018
                      FOR THE DISTRICT OF MONTANA
                                                                            Clerk, U.S Courts
                           MISSOULA DIVISION                                District Of Montana
                                                                             Missoula Division


 UNITED STATES OF AMERICA,
                                                         CR 18-31-M-DLC
                       Plaintiff,
                                                               ORDER
         vs.

 DANELLE MARIE JOHNSON,

                       Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on October 15, 2018. Neither party objected and

therefore they are not entitled to de nova review of the record. 28 U.S.C. §

636(b)(l); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach. , Inc., 656 F.2d 1309, 1313

(9th Cir. 1981 ). Clear error exists if the Court is left with a "definite and firm

conviction that a mistake has been committed." United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Danelle Marie Johnson's

guilty plea after Johnson appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of bank fraud in

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violation of 18 U.S.C. § 1344(2) (Count 6) as set forth in the Indictment. In

exchange for Defendant's plea, the United States has agreed to dismiss counts 1, 3,

4, and 10 of the Indictment, as well as the forfeiture allegation.

      I find no clear error in Judge Lynch's Findings and Recommendation (Doc.

110), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Danelle Marie Johnson's motion to

change plea (Doc. 85) is GRANTED and Danelle Marie Johnson is adjudged

guilty as charged in Count 6 of the Indictment.

      DATED this    ~day ofNovember, 018.


                                        Dana L. Christensen, Chief Judge
                                        United States District Court




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